             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                   Civil Case No. 1:12-cv-00276-MR
               [Criminal Case No. 1:07-cr-00032-MR-4)


DARIAN KENDALL ROBINSON,        )
                                )
         Petitioner,            )
                                )
     vs.                        )             ORDER
                                )
UNITED STATES OF AMERICA,       )
                                )
         Respondent.            )
_______________________________ )

     THIS MATTER is before the Court on an initial review of a motion

filed by Petitioner which has been docketed as a Motion to Vacate, Set

Aside or Correct Sentence pursuant to 28 U.S.C. § 2255. [Doc. 1]. For the

reasons that follow, Petitioner’s Motion will be dismissed as an

unauthorized, successive motion under Section 2255.

I.   PROCEDURAL BACKGROUND

     On July 9, 2007, Petitioner entered a plea of guilty to one count of

conspiracy to possess with intent to distribute cocaine base, or crack

cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1). [1:07cr32, Doc. 79:

Plea Agreement; Doc. 80: Acceptance and Entry of Guilty Plea]. On July 1,

2008, Petitioner appeared with counsel and the Court accepted Petitioner’s



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plea of guilty after finding that there was a factual basis to support the

charge. Petitioner was then sentenced to 276 months’ imprisonment. [Id.,

Doc. 170: Judgment in a Criminal Case at 2].

      Petitioner filed a timely notice of appeal to the United States Court of

Appeals for the Fourth Circuit. On appeal, Petitioner’s counsel filed a brief

pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d

493 (1967), yet he challenged whether the Rule 11 hearing was properly

administered and whether Petitioner received an appropriate sentence.

Petitioner filed a pro se supplemental brief. United States v. Robinson, 337

F. App’x 360, 361 (4th Cir. 2009) (unpublished).

      The Court of Appeals found that Petitioner’s Rule 11 argument was

without merit.   The Court also rejected Petitioner’s argument regarding

sentencing, concluding that the district court had not “engaged in

impermissible double counting by using a prior conviction both to raise the

statutory minimum sentence from 10 years’ imprisonment to twenty years’

imprisonment pursuant to 21 U.S.C.A. § 841(b) (internal citation omitted),

and 21 U.S.C. § 851 (2006), and to classify Robinson as a career

offender.” Id. at 361.




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      The Court of Appeals then went on to consider and reject Petitioner’s

argument, which was raised at the sentencing hearing, that the district

court improperly relied on certain 1990 convictions in determining whether

Petitioner qualified as a career offender under U.S.S.G. § 4B1.1(a). Id.

Finally, the Court concluded that the district court had properly explained its

reasons for the sentence imposed on Petitioner.         On July 6, 2009, the

Court entered its order affirming Petitioner’s conviction and sentence in all

respects. Id.

      On December 28, 2009, Petitioner filed a Section 2255 motion raising

various grounds of ineffective assistance of counsel. Petitioner first argued

that his counsel was ineffective for failing to advocate that he was not a

career offender. The Court denied this argument after concluding that the

Fourth Circuit had already decided that the district court properly

considered his 1990 convictions in determining that Petitioner qualified as a

career offender. [1:09cv473, Doc. 8 at 7-8]. The Court also considered and

rejected Petitioner’s argument that his trial counsel was ineffective for

failing to consult with him about his appeal.      This argument, the Court

found, was simply not supported by the record, as his trial counsel

demonstrated that his notice of appeal was timely filed and he followed up

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with the Fourth Circuit to ensure that Petitioner had been appointed

appellate counsel. [Id. at 9-10].

      In his initial §2255 Motion, the Petitioner also argued that his trial

counsel was ineffective for failing to request a downward departure based

on the overrepresentation of his criminal history in his presentence report

(“PSR”). The Court concluded that his trial counsel was not ineffective on

this point because Petitioner’s criminal history category was well supported

by his many serious drug convictions dating back to at least 1989. This

argument was denied and dismissed. [Id. at 10-11]. Petitioner’s remaining

ineffective assistance of counsel claims, which are not relevant to the

present inquiry, were denied and dismissed, and the Court declined to

issue a certificate of appealability. Petitioner appealed the denial to the

Fourth Circuit and the appeal was dismissed. Robinson v. United States,

F. App’x 244 (4th Cir. July 6, 2011) (unpublished).

      Petitioner returns to this Court with what he styles as a motion under

Rule 60(b)(1) of the Federal Rules of Civil Procedure. [1:12cv276, Doc. 1].

II.   DISCUSSION

      As noted, Petitioner has already filed a Section 2255 motion which

was denied and dismissed by the Court and his appeal was dismissed on

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July 6, 2011. The Court must now decide whether this latest motion is an

unauthorized, successive petition.         If it is, then the Court is without

jurisdiction to hear it and it must be dismissed.

      The Antiterrorism and Effective Death Penalty Act of 1996, or

“AEDPA” provides that:

            A second or successive motion must be certified as
            provided in section 2244 by a panel of the
            appropriate court of appeals to contain—

                  (1) newly discovered evidence that, if proven
                  and viewed in light of the evidence as a
                  whole, would be sufficient to establish by clear
                  and convincing evidence that no reasonable
                  factfinder would have found the movant guilty
                  of the offense; or

                  (2) a new rule of constitutional law, made
                  retroactive to cases on collateral review by the
                  Supreme Court, that was previously
                  unavailable.

28 U.S.C. § 2255(h).

      Petitioner has provided no evidence that he has obtained the

necessary authorization from        the     Fourth Circuit. While Petitioner

characterizes his latest filing as a Rule 60 motion, it is not that simple. If

Petitioner’s motion is in fact a Section 2255 motion this Court is without

subject matter jurisdiction to entertain the arguments raised therein,

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regardless of how it may be styled. See United States v. Winestock, 340

F.3d 200, 204-05 (4th Cir. 2003), cert. denied, 540 U.S. 995, 124 S.Ct. 496,

157 L.Ed.2d 395 (2003).

      In his motion, Petitioner argues that the trial court mistakenly

construed Petitioner’s argument in his first Section 2255 motion regarding

his status as a career offender as being the same argument decided

against him by the Fourth Circuit. [1:12cv276, Doc. 1 at 3]. Petitioner

contends that because his “[R]ule 60 motion [ ] attacks not the substance of

the court’s resolution of a claim, but some defect in the integrity of the

federal habeas proceedings, this petition should not be treated as a

successive petition.” [Id. at 4]. This argument is without merit.

      Petitioner asserts that the district court erred in applying the law of

the case doctrine in denying a claim which the Court found had been

decided by the Fourth Circuit, whether impliedly or expressly. Petitioner

appealed the Court’s denial and dismissal of his first Section 2255 motion,

and the Fourth Circuit dismissed his appeal.        In fact, Petitioner plainly

states that he is in fact seeking relief from the resolution of his claims by

the Court in his first Section 2255: “Petitioner, moves this court, pursuant to

[Rule] 60(b)(1), for an order to be relieved of this court’s order entered in

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this action on December 28, 2010, and for leave to resubmit the previously

filed § 2255 issue.”      [1:12cv276, Doc. 1 at 9].        This is clearly an

unauthorized successive §2255 petition simply labeled as a Rule 60

motion.

      Petitioner’s sole argument is that he is “actually innocent” of being a

career offender. Petitioner’s challenge to his status as a career offender

has been rejected, first by the trial court at his sentencing hearing; second,

by the Fourth Circuit on appeal; and finally by this Court in its Order

denying and dismissing his Section 2255 motion. See, e.g., Robinson, 337

F. App’x at 361 (rejecting Petitioner’s arguments regarding the calculation

of his status as a career offender); [1:09-cv-473, Doc. 8: Order at 8-9, 11-

13 (rejecting arguments challenging his status as a career offender,

including discussion of the qualifying nature of the prior criminal convictions

detailed in Petitioner’s PSR)].

      “The ultimate question here is whether [the Defendant’s] motion for

[relief from judgment] should [be] treated as a successive collateral review

application.” Winestock, 340 F.3d at 203. “In order for these limitations [on

successive applications] to be effective, courts must not allow prisoners to




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circumvent them by attaching labels other than ‘successive application’ to

their pleadings.” Id.

      The holding in Winestock

              raises the question of how to distinguish a proper
              Rule 60(b) motion from a “successive [application]
              in 60(b)’s clothing.” Lazo v. United States, 314 F.3d
              571, 573 (11th Cir. 2002) (per curiam). There may
              be no infallible test for making this distinction, but a
              relatively straightforward guide is that a motion
              directly attacking the prisoner’s conviction or
              sentence will usually amount to a successive
              application, while a motion seeking a remedy for
              some defect in the collateral review process will
              generally be deemed a proper motion to reconsider.

Id. at 207.

      Petitioner’s argument makes clear that he is seeking to have decided,

for the fourth time now, the question of whether he qualified as a career

offender.     “Rule   60(b)   does   not       authorize   a   motion    merely    for

reconsideration of a legal issue.” Winestock, 340 F.3d at 207 (quoting

Eberhardt v. Integrated Design & Constr., Inc., 167 F.3d 861, 870 (4th Cir.

1999)).

      As the Court has found, Petitioner is seeking to again to argue the

propriety of his career offender status and this is nothing short of an attack

on his sentence. As this question has been decided against him on three


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occasions, the Court finds that his latest motion is an unauthorized,

successive petition and as such the Court is without jurisdiction to again

consider this argument.

       The Court declines to issue a certificate of appealability on the claims

which are dismissed as Petitioner has not made a substantial showing of a

denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell,

537 U.S. 322, 336-38, 123 S.Ct. 1029, 1039-1041, 154 L.Ed.2d 931 (2003)

(in order to satisfy § 2253(c), a petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong); Slack v. McDaniel, 529 U.S. 473, 484, 120 S.Ct.

1595, 146 L.Ed.2d 542 (2000) (when relief is denied on procedural

grounds, a petitioner must establish both that a dispositive procedural

ruling is debatable, and that the petition states a debatable claim of the

denial of a constitutional right).

III.   CONCLUSION

       IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence [Doc. 1] is DISMISSED as an unauthorized,

successive petition pursuant to 28 U.S.C. § 2255(h).




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      IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.

                                               Signed: January 15, 2013




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